       Case 6:10-cr-10119-EFM           Document 45       Filed 08/20/10      Page 1 of 5




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )       No. 10-10119-02-WEB
                                             )
NICHOLAS IBARRA,                             )
                                             )
                      Defendant.             )
                                             )


                                   Memorandum and Order

       This matter came before the court on August 19, 2010 for a hearing on defendant

Nicholas Ibarra’s Motion for Revocation or Amendment of the Magistrate’s Order of Detention.

The court orally denied the motion at the conclusion of the August 19 hearing. This written

memorandum will supplement the court’s oral ruling.

       I. Background.

       The defendant was initially charged by complaint and made his initial appearance before

a Magistrate Judge on August 2, 2010. The Government moved for detention and a detention

hearing was held on August 6, 2010. After hearing evidence, the Magistrate Judge ordered that

the defendant be detained pending trial, finding that he would pose both a flight risk and a

danger to the community if released.

       An Indictment was subsequently filed on August 10, 2010, charging the defendant and

two other individuals with one count of unlawful possession with intent to distribute

approximately 5 pounds of a mixture or substance containing methamphetamine, in violation of

21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2. On August 13, 2010, defendant timely filed his motion
       Case 6:10-cr-10119-EFM           Document 45       Filed 08/20/10      Page 2 of 5




for revocation or amendment of the Magistrate’s order of detention. The Government has filed a

response opposing defendant’s motion.

       II. Discussion.

       The district court conducts a de novo review of a magistrate's order of detention. See

United States v. Cisneros, 328 F.3d 610, 616 n. 1 (10th Cir. 2003). Thus, the district court

independently makes factual findings and determines the propriety of detention without

deference to the magistrate judge's findings or conclusion. United States v. Foster, 2009 WL

3672516, *2 (D. Kan., Nov. 2, 2009) (citing United States v. Lutz, 207 F.Supp.2d 1247, 1251 (D.

Kan.2002)). A de novo evidentiary hearing is not required; the district court may hear evidence

or it may incorporate the record of the proceedings before the magistrate. Id. In this instance,

the relevant facts were essentially agreed upon by the parties, and neither party had any

additional evidence to present to the court at the August 19 hearing, although the court heard

argument from both sides.

       Under the Bail Reform Act, a defendant may be detained pending trial only if a judicial

officer finds “that no condition or combination of conditions will reasonably assure the

appearance of the person as required and the safety of any other person and the community.” 18

U.S.C. § 3142. The government bears the burden of proving a risk of flight by a preponderance

of the evidence, and it must prove dangerousness by clear and convincing evidence. United

States v. Cisneros, 328 F.3d 610, 616 (10th Cir. 2003). In a case such as this, where the

Indictment alleges an offense under the Controlled Substances Act for which the maximum term

of imprisonment is ten years or more, a rebuttable presumption of detention arises. § 3142(f).

Cf. United States v. Dozal, 2009 WL 873011, *2 (D. Kan., Mar. 27, 2009) (noting defendant’s


                                                 2
        Case 6:10-cr-10119-EFM          Document 45        Filed 08/20/10      Page 3 of 5




burden of production to meet the presumption is not heavy, and the burden of proof remains on

the Government to show that release would pose danger or flight risk). See also id. (“the mere

production of evidence does not completely rebut the presumption, and in making its ultimate

determination, the court may still consider the finding by Congress that drug offenders pose a

special risk of flight and dangerousness to society.”).

       In determining whether there are conditions of release that will reasonably assure the

appearance of the person as required and the safety of any other person and the community, the

court must consider: (1) The nature and circumstances of the offense charged, including whether

the offense is a crime of violence or involves a narcotic drug; (2) the weight of the evidence

against the person; (3) the history and characteristics of the person, including(A) the person's

character, physical and mental condition, family ties, employment, financial resources, length of

residence in the community, community ties, past conduct, history relating to drug or alcohol

abuse, criminal history, and record concerning appearance at court proceedings; and (B)

whether, at the time of the current offense or arrest, the person was on probation, on parole, or on

other release pending trial, sentencing, appeal, or completion of sentence for an offense under

Federal, State, or local law; and (4) the nature and seriousness of the danger to any person or the

community that would be posed by the person's release. 18 U.S.C. § 3142(g).

       The factors in this case are not one-sided. As defendant points out, he has significant

community ties to Wichita, having been born and raised here and having extensive family here.

He is engaged and has resided in Wichita with his fiancee and their four children. He has no

criminal record or documented history of drug or alcohol abuse. He was previously employed in

the same job for four years (but was laid off approximately a month ago). All of the foregoing


                                                 3
        Case 6:10-cr-10119-EFM           Document 45        Filed 08/20/10      Page 4 of 5




factors weigh in favor of release. As the Government argues, however, there are significant

factors weighing the other way. The defendant is charged with a very serious drug offense,

allegedly involving a quantity for which the law ordinarily requires a minimum sentence of 10

years imprisonment and a maximum possible sentence of life imprisonment. A loaded firearm

was found in the defendant's vehicle shortly after his meeting with an undercover officer, and

according to the Government the defendant admitted after his arrest that he knew the weapon

was present. The defendant was allegedly under surveillance by the Government during the

offense conduct and allegedly went from his residence to a meeting with an undercover officer

for the purpose of making a deal to sell a large quantity of methamphetamine. The fact of

surveillance indicates that the evidence against the defendant may be strong. The Government

proffers that the defendant made the arrangements and set the price for the deal – five pounds at

$22,000 per pound. For purposes of the instant motion, defendant does not dispute that a large

quantity of drugs – including approximately 5 pounds of methamphetamine – was found in his

residence. The drugs were found in the same residence where his young children reside, raising

serious questions about the defendant’s judgment and character and whether his release would

pose a danger to others, including members of his family. As the court noted at the hearing,

there is a significant potential for violence whenever large quantities of drugs and money are

involved; particularly when firearms are also involved. Finally, the Government noted that an

electronic money-counting machine was also found in the defendant’s residence, indicating a

likelihood that significant drug dealing had occurred in the past and that proceeds from such

activities had likely been present in the house. After considering all of the relevant factors, the

court finds there is no combination of conditions that will reasonably assure the appearance of


                                                  4
       Case 6:10-cr-10119-EFM           Document 45        Filed 08/20/10      Page 5 of 5




the defendant as required, and the safety of the community.

       III. Conclusion.

       Defendant Nicholas Ibarra’s Motion for Revocation or Amendment of Magistrate’s

Detention Order (Doc. 35) is DENIED. The Order of Detention previously entered in this case

remains in effect. The defendant is hereby committed to the custody of the Attorney General or

his designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending appeal.

The defendant shall be afforded a reasonable opportunity for private consultation with defense

counsel. On order of a court of the United States or on request of an attorney for the

Government, the person in charge of the corrections facility shall deliver the defendant to a

United States Marshal for the purpose of an appearance in connection with a court proceeding.

       IT IS SO ORDERED this 20th          Day of August, 2010, at Wichita, Ks.


                                              s/Wesley E. Brown
                                              Wesley E. Brown
                                              U.S. Senior District Judge




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